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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

  Civil Action No. 19-cv-01091-RM-NRN

  DAVID E. BRODY

         Plaintiff

  v.

  MARC A. BRUNER,
  THE BRUNER FAMILY TRUST, and
  MARC E. BRUNER, AS TRUSTEE OF THE BRUNER FAMILY TRUST

         Defendants.



                       ORDER ON MOTION FOR RELEASE OF FUNDS



         This matter comes before the Court on the Parties’ Stipulated Motion for Release of

  Interpleaded Funds (ECF No. 168) and the Parties’ Further Joint Motion for Release of

  Interpleaded Funds (ECF No. 174) (the “Motions”). The Parties seek the release of interpleaded

  funds in the amount of $97,542.27 deposited by Jeffrey L. Hill, the Chapter 7 Trustee of

  PetroHunter Energy Corporation into the Court Registry on September 1, 2020 (ECF No. 47),

  March 22, 2021 (ECF No. 83) and April 8, 2021 (ECF No. 86). Upon consideration of the

  Motion, and relevant parts of the record, and being otherwise fully advised, the Court ORDERS

  as follows.

         (1)     The Further Joint Motion for Release of Interpleaded Funds (ECF No. 174) is

                 GRANTED;
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        (2)   The Stipulated Motion for Release of Interpleaded Funds (ECF No. 168) is

              DENIED AS MOOT.

        (3)   The Clerk of the Court shall issue a check drawn on the Court Registry in the

              amount of $97,542.27 plus any accrued interest, made payable to David E. Brody.

              The check shall be mailed care of Plaintiff’s Counsel, Michael A. Rollin, Foster

              Graham Milstein & Calisher LLP, 360 South Garfield Street, Sixth Floor, Denver,

              Colorado, 80209.

        DATED this 24th day of June, 2022.

                                                   BY THE COURT:



                                                   ____________________________________
                                                   RAYMOND P. MOORE
                                                   United States District Judge




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